        Case 7:22-cr-00003-WLS-TQL Document 28 Filed 06/24/22 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                VALDOSTA DIVISION

UNITED STATES OF AMERICA,                           :
                                                    :
v.                                                  :
                                                    :       Case No.: 7:22-CR-00003 (WLS-TQL)
                                                    :
CHASE LESLIE WHITE,                                 :
                                                    :
                                                    :
        Defendant.                                  :
                                                    :
                                                   ORDER
        Before the Court is an “Unopposed Motion to Continue” filed by Defendant Chase
White in the above-styled action on June 22, 2022. (Doc. 27.) Therein, the parties request
that this Court continue to the next available trial term. (Id.) Defendant White was indicted
on a two-count indictment on January 11, 2022. (Doc. 1.) He was arraigned before the
Honorable Magistrate Judge Thomas Q. Langstaff on April 19, 2022. (Doc. 14.) The Court
previously continued this case to the August 2022 trial term on May 6, 2022.1 (Doc. 23.) In
his instant request, Defendant White argues that “more time is needed for defense counsel
to finish investigation [sic] to file a motion to suppress.” 2 (Doc. 27 at 2.) Defendant also
indicates that he and the Government have “agreed more time is needed for further
negotiations.” Per the motion, the Government does not oppose Defendant’s requested


1 Defendant incorrectly states in his motion that the Court set his case for the “July 6th trial term” and

requests that the case be continued to the “October trial term.” (Doc. 27 at 1, 2.) The Court previously
ordered that this case be continued to the August 2022 trial term. (Doc. 23.) A pretrial conference for the August
trial term was scheduled for this case on July 6, 2022. (Doc. 26.) There is no July trial term for this Court. The
Court’s next trial term after the upcoming August 2022 term in the Valdosta Division will begin in November
2022, not October 2022.
2 In response to a Court Order requiring the Parties to confer and inform the Court as to their preparedness

for trial, Defendant indicated that he was contemplating a motion to suppress. (Doc. 25.) The Order to
confer made clear that a response indicating the Parties were ready for trial was required by Wednesday, June
15, 2022 or, if the Parties were not prepared for trial, a pretrial conference would be set for the August 2022
term absent a motion to continue. (Doc. 24.) Defendant did respond but did not move to continue the case
by the June 15, 2022 deadline. As stated in the Order, absent any move to continue, a pretrial conference was
scheduled. (Doc. 26.) The Court now considers the move to continue this case from the August 2022 term to
the November 2022 trial term in the Valdosta Division of this Court because Defendant has filed a motion
requesting as such on the record.

                                                        1
       Case 7:22-cr-00003-WLS-TQL Document 28 Filed 06/24/22 Page 2 of 2



continuance. (Id. at 1.)
        The Speedy Trial Act permits a district court to grant a continuance of the trial so
long as the court makes findings that the ends of justice served by ordering a continuance
outweigh the best interest of the public and the defendant in a speedy trial. 18 U.S.C.
§ 3161(h)(7)(A). Section 3161(h)(7)(B) provides a number of factors the Court must consider
when granting a continuance. United States v. Ammar, 842 F.3d 1203, 1206 (11th Cir. 2016).
Among those factors are the likelihood that the lack of a continuance will result in a
miscarriage of justice and the likelihood that failure to grant a continuance would deprive the
defendant continuity of counsel or reasonable time necessary for effective preparation. 18
U.S.C. § 3161(h)(7)(B).
       Based on the Defendant’s stated reasons, the Unopposed Motion to Continue (Doc.
27) is GRANTED. The Court finds that failure to grant the requested continuance would
deny the Defendant the necessary time and preparations for trial, even assuming due
diligence, and would likely result in a miscarriage of justice. The Court also finds that the
need for this continuance outweighs the public and the Defendant’s best interest in a speedy
trial. 18 U.S.C. § 3161(h)(7)(A)-(B). It is ORDERED that the case is CONTINUED to the
November trial term in Valdosta, Georgia, which begins November 7, 2022, unless
otherwise ordered by the Court. The Court further ORDERS that the time from the date of
this Order to the conclusion of the November 2022 Trial Term is EXCLUDED FROM
COMPUTATION under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7). The
pretrial conference scheduled for this case on July 6, 2022 at 3:00pm in the Albany Division
of this Court is hereby CANCELLED and shall be rescheduled for a future date by
separate Order in conformance with the November 2022 trial term.
       SO ORDERED, this 24th day of June 2022.

                                           /s/ W. Louis Sands
                                           W. LOUIS SANDS, SR. JUDGE
                                           UNITED STATES DISTRICT COURT




                                              2
